_ Case 2:05-cr-20014-.]PI\/| Document 20 Filed 08/03/05 Page 1 0t8 Page|D 31

 

 

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VS. \
97-20234-41

EDDIE IETER, 0 05-20014
\l\

Defendant.

 

 

 

COMES NOW your Defendant, EDDIE JETER, by and through his Attomey of
Record, 3 ake Erwin, and would respectfully request this Honorable Court to extend the
date for your Defendant to surrender to the Bureau of Prisons. In support of this motion,
your Defendant would respectfully`submit the following: l

1. Defendant would submit that he was to have undergone surgery to remove

one of his eyes in early July. Prior to having this surgery it was
discovered that he had two significant arterial blockages. On July 7, 2005,
Defendant was hospitalized and received two arterial stents.

2. Defendant is presently recovering, but has been advised that more surgery

may be likely due to lack of improvement

3. Moreover, Defendant is still in need of the eye surgery

4. Defendant requests at least 30 additional days to surrender so that he may

continue his recovery, to determine whether more heart surgery is 1
necessary, and whether he will have his eye surgery.

5. Attached hereto is Defendant’s current medical records.

Th|s document entered on the docket she t In compliance l
with Hu|e 55 and/or 32(b) FRCrP on g '§ 652 02 0

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6. Counsel has consulted with Assistant United States Attomey Carol Andre,
who has advised that he has no objection to the request
WHEREFORE, PREMISES CONSIDERED, your Defendant respectfully
requests this Honorable Court to extend the time for which your Defendant should

surrender.

RESPECTFULLY SUBMITTED,

{l/éfi\

Erwin #020728
eWAGERMAN LAW FIRM
Suite 1313, 200 Jefferson Avenue
Memphis, Tennessee 38103
(901) 527-0644

CERTIFICATE OF SERVICE

I, lake Erwin, certify that a copy of the foregoing Motion was furnished to the
U.S. Attorne 's 0ffice, 167 N. Main, 8th Floor, Memphis, Tennessee on this 3 ___day of
9 aj a§ , 2005.

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oo; 07/07/2005 09=44
carrier r/mr~rcnrz\t nosprrat
MEMPHIS, TENNESSEE
PATIENT
HAME: JETER, EDDIE D
nccr#= s 0518300400 cARDIAc cATHETaerATI<)n

DICTATED BY: SHAHID I. KHAH, M.D.
PHYSICIAN: SHAHID I. KHAN, M.D.
ROOM#: 212?

UNIT#: 0000277090

DATE OF ADMISSION: 07/07/2005

DATE OF CATHETERIZATION: 07/07/2005

PROCEDURE:
PTCA and intracoronary`stent to proximal 90% left anterior
descending artery atenosis.

REFERRING PHYSICIAN: Leona Miller, M.D.

EQUIPMEHT:
l. B-French JL4 guiding catheter.
2. Whisper 0.014 wire.
3. 3.5 x 24-mm long TAXUS drug*eluting stent.

PROCEDURE: After risks and benefits of procedure were
extensively explained to the patient and family in detail and
informed consent was signed, the patient was brought to the
cardiac catheterization laboratory.

The patient's right groin was prepped and draped id_the usual
sterile fashion. Right femoral artery was cannulated with
nwdified Seldinger technique and an B-French introducer sheath
was positioned into the right femoral artery. An B-French JLG
guiding catheter was advanced. The left main coronary ostium was
engaged. Guiding views were obtained. The patient was given
Angiomax bolus and started on Angiomax drip. Whisper 0-014 wire
was shaped and advanced through the guiding catheter. Wire was
positioned into the distal LAD. There was some ostial stenosis
of a small diagonal branch. A 3.5 x 24-mm long TAXUS drug-
eluting stent was prepped and advanced over the wire. Stent was
positioned at the area Of stenosi°. Stent was successfully
deployed at 18 atmospheres. Balloon was pulled out. Views were
obtained. There was good antegrade flow with no residual and no
dissection- There was some compromise of flow into the small
diagonal branch; however, the inflow got established.

Wire was redirected into the diagonal branch, unable to cross it.
Decision was made since the flow was established and it‘s a small

CARDIAC CATHETERIZATION
Page l of 2

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DATE: T/ZT/ZUUB

 

Page|D 33

 

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DD: 07/07/2005 08:44
BAPTlST MEMORIAL HOSPITAL
MEMPHIS, TENNESSEE

PA'[` I F_`.NT
NRME: JETER, EDDIE D
ACCT#: E 0518800400 CARDIAC CATHETERIZATIOH

DICTATED BY: SHAHID l. KHRN, M.D.
PHYSICIAH: SHAHID I. KHAN, M.D.
ROOM#: 212?

UNIT#: 0000277090

diagonal branch not to proceed further because of inability to
cross the wire at the ostium of the diagonal. There was good
antegrade flow into the LAD. There was some mild 40$ stenosis in
the distal LAD near the apex. Decision was made not to_deploy
any stent over there.

The patient was given Integrilin bolus and was started on
Integrilin drip.

CONCLUSIOM: Successful percutaneous transluminal coronary
angioplasty {PTCA) and drug-eluting stent to 90% proximal left

anterior descending (LAD} stenosis.

CC: Leona Miller, M.D.

 

SHAHID I. KHAN, M.D.

C.','ARDI}\C (`.'ATHE`.TERI ZATION
Page 2 of 2
Authenticated by Shahid I. Khan, M.D. On 7/12/05 5:06:57 PM

PRIHTED BY: MCMT§ZQ

DA‘T E`. :

7/27/2005

 

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07/09/05 ‘ 6225 HUMPHREYS BLVD/ 6019 WALNUT GROVE
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PgocBDURE LHHTS REF.RAHGE
BiocHEMicALs
soolum 142 142 mmcl/L 135-145
PQTAssluM 3. 4 L 4.0 nmwi/L 3.5-5 0
cHLoR1DE 104 100 nmml/L 90-101
cARBoN DIOXIDE 29 27 mmo1/L 22-30
AN:oN GAP 13 13 0»16
UREA NITROGEN 14 13 mg/dL ` 9-21
cREATININE 1.3 1.5 H mg/dr 0.5_1.4
B/c . 11 9 L 10-20
GLUCOSE 00 101 mq/dr 10-115
CALCIUM 8.9 9.1 mq/dL 8.5-10.0
cHEMIsTRY

CGLL.DATE: 07/07/05

coLL.TIME: 0659
PROCEDURE lnHTs REF.RANGE
LIPID PROFILE

TRIGLYCERIDES 100 mg/dl < 150
HDL cHoLEsTERoL 32 L mg/dl >/= 40
LDL cHoLEsTERoL 30 mg/dl < 130
TC/HDL RATIO 2.00 f

cHoLESTERoL 92 mg/dl < 200

LEGEND
L =Low, H =High, f = Footnote
= TRIGLYCERIDES, HDL CHOLESTEROL, LDL CHOLESTEROL, TC/HDL RATIO, CHOLESTEROL MEMPHIS PATHOLOGY LABORATORY
5846 DISTRIBUTION DR,MEMPHIS TN 33141

TC/HDL RATlO... 07/07/05 0659 AVERAGE CORONARY RISK RATIO FOR MALES: 4.9?

ADM DT: 07/07/2005 PT NAME: JETER, EDDIE D

DR. KHAN, SHAHID I AGE/SEX: 58 YRS M UNIT # (00002]00~0027?090
DISCHARGE DATE: OT/OH/OB HOOM NO: 2127 FIH #: 05185-00400

ERINTED BY: MCM7524
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mm Case 2: 05-cr- 20014-.]%1{|_>141@,0@61?(4’@3§§20 Filed 08/03/05 Page l36601° 8 Page|D 36
HEMATOLOGY
coLL.DATE: 01/00/05 01/01/05
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PROCEUURE UNITS REF.RANGE

RED CELL PARAMETERS

RBC 4.42 4.74 M/uL 4.30-5.70
HEMOGLOBIN 13.4 L 14.1 g/dL 14.0-19.0
HEMATOCRIT 39.6 L 42.5 1 40.0-54.0
Mcv 09.7 09.6 ih 30.0-9?.0
McH 30.3 29.6 pg 27.0-32.0
Mch 33.8 33.1 % `” _ 32.0-36.0
RDW 12.5 12.6 % 11.5-14.5
PLATELET ccmrr

PLATELETS 135 L 103 K/uL 150-500
PEAN 901 VOL 0.9 9.2 fL 7.4-10.4
wHITE cELL cowNT

vac 5.3 4.0 L K/ur 5.0-10.0

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SEE PATIENT CHART FOR LABORATORY RESULTS PERFORMED AT THE BEDSIDE BY RN.
ACTIVATED CLOTTING TIME NORMAL RANGE: 92-136 SECS

LEGEHD

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ADM DT: 07/07/2005 PT.PDME: JETER, EDDIE D

DR. KHAN, SHAHID I AGE/SEX: 58 YRS M UNIT # (OOOOZ)OO*OOZ?TOQO
DISCHARGE DATE: 07/09/05 ROOM NO: 2127 FIN #: 05i89-00400

PRINTED BY: MCM7524
DATE: 7/27/2005

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ACTIVATED CLOTTING TIME

SEE PATIEHT CHART FOR LABORATORY RESULTS EERFORMED AT THE BEDSIDE BY RH.
ACTIVATED CLOTTIHG TIME NORMAL RAMGE: 92-136 aecs

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SEE PATIENT CHART FOR LABORATORY RESULTS PERFORMED AT THE BEDSIDE BY RH.
ACTIVATED CLOTTIHG TIME HORMAL RAHGE: 92-136 SECS

ADM DT: 07/07/2005 PT HAME: JETER, EDDIE D
DR. KHAH, SHAHID I AGE/SEX: 58 YRS M UNIT # (00002100-00277090
DISCHARGE DATE: 07/08/05 ROOM NO: 2127 FIN #: 05138-00400

PRINTED BY: MCM7524
DATE: 7/27/2005

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 20 in
case 2:05-CR-20014 Was distributed by faX, mail, or direct printing on
August 4, 2005 to the parties listed.

 

 

Carroll L. Andre

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1\/lemphis7 TN 38103

Jacob E. Erwin
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200 Jefferson Avenue

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Honorable J on McCalla
US DISTRICT COURT

